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1                     IN THE UNITED STATES DISTRICT COURT
2                     FOR THE NORTHERN DISTRICT OF TEXAS

3                              FORT WORTH DIVISION

4     UNITED STATES OF AMERICA,    )      CASE NO. 4:16-CR-121-A
                                   )
5               Government,        )
                                   )      FORT WORTH, TEXAS
6     VERSUS                       )
                                   )      OCTOBER 21, 2016
7     TIMOTHY ERIC NIMERFROH (05), )
                                   )
8               Defendant.         )      11:34 A.M.

9
10                               VOLUME 1 OF 1
                           TRANSCRIPT OF SENTENCING
11                     BEFORE THE HONORABLE JOHN McBRYDE
                      UNITED STATES DISTRICT COURT JUDGE
12
13    A P P E A R A N C E S:

14    FOR THE GOVERNMENT:         MR. SHAWN SMITH
                                  UNITED STATES DEPARTMENT OF JUSTICE
15                                NORTHERN DISTRICT OF TEXAS
                                  801 Cherry Street, Suite 1700
16                                Fort Worth, Texas 76102-6882
                                  Telephone: 817.252.5200
17
      FOR THE DEFENDANT:          MR. ANTHONY H. GREEN
18                                Law Office of Anthony Green
                                  12959 Jupiter Road, No. 250
19                                Dallas, Texas 75238
                                  Telephone: 214.341.9026
20
      COURT REPORTER:             MS. DEBRA G. SAENZ, CSR, RMR, CRR
21                                501 W. 10th Street, Room 424
                                  Fort Worth, Texas 76102
22                                Telephone: 817.850.6661
                                  E-Mail: debbie.saenz@yahoo.com
23
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1                              P R O C E E D I N G S
2                        October 21, 2016 - 11:34 a.m.

3                 COURT SECURITY OFFICER:      All rise.

4                 (Judge enters)
5                 COURT SECURITY OFFICER:      Please be seated.

6                 THE COURT:    Okay.   I'm calling for sentencing Number

7     4:16-CR-121-A.     This time it's United States of America versus
8     Timothy Eric Nimerfroh.

9                 And Mr. Smith is here for the government, and
10    Mr. Green's here for the defendant.

11                Mr. Green, why don't you and your client come to the

12    podium.
13                Mr. Nimerfroh, state your full name for the record.

14                THE DEFENDANT:    Timothy Eric Nimerfroh.

15                THE COURT:    Okay.   You appeared before me -- let me
16    get the exact date -- on June 2, 2016, when you entered a plea

17    of guilty to Count 1 of a two-count information the government

18    filed May 18, 2016, and that count charged you with conspiracy
19    to possess with intent to distribute a controlled substance,

20    having reference to methamphetamine.         Of course, we're here
21    today for sentencing based on the conviction resulting from

22    that plea.

23                Mr. Green, did you and your client receive in a
24    timely manner the Presentence Report and the addendum to it?

25                MR. GREEN:    We did, Your Honor.


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1                 THE COURT:    And did the -- actually, there were two
2     addendum.    Did you receive both of them in a timely manner?

3                 MR. GREEN:    Yes, Your Honor.

4                 THE COURT:    And did you and your client read all
5     those items and then discuss them with each other?

6                 MR. GREEN:    Yes, Your Honor.

7                 THE COURT:    There were some objections to the
8     Presentence Report.      You've seen the government's response to

9     those objections, and the probation officer's response, and my
10    order expressing my tentative conclusion that they are without

11    merit.

12                Do you still want to pursue any of those objections?
13                MR. GREEN:    Some of them, Your Honor, yes, sir.

14                THE COURT:    Okay.   Tell me which ones you want to

15    pursue by number.
16                MR. GREEN:    Thank you, Your Honor.

17                We're on Defendant's First Amended Objections to the

18    Presentence Report Investigation Report dated September 29.
19    We are --

20                THE COURT:    Let me find that.      Now, does that
21    replace the original objections?

22                MR. GREEN:    Yes, Your Honor, because I withdrew one

23    of the objections and supplanted it with these.
24                THE COURT:    Okay.   Tell me -- we'll refer then to

25    the amended objections the Court received on September 29.


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1                 How about objection number 1?
2                 MR. GREEN:    Objection number A, that he did not

3     maintain a residence for the purpose of storing or

4     distributing methamphetamine.
5                 THE COURT:    You're still urging that?

6                 MR. GREEN:    Yes, Your Honor.

7                 THE COURT:    Okay.
8                 MR. GREEN:    I'm going to waive number C, the amount

9     of methamphetamine attributed to defendant by Mandy Turner.
10                THE COURT:    Okay.

11                MR. GREEN:    Given that it doesn't affect his

12    guideline range and so many people have --
13                THE COURT:    Okay.   I'm just wanting to know which

14    ones you're urging now.

15                MR. GREEN:    Okay.   Number D, the leader/organizer
16    enhancement is not proper, we are urging.

17                THE COURT:    Okay.   How about C in the middle of page

18    3?
19                MR. GREEN:    No, Your Honor.      We're waiving the Mandy

20    Turner objection.
21                THE COURT:    Okay.   And you're urging D?

22                MR. GREEN:    A and D, Your Honor.

23                THE COURT:    Okay.   Let's go back and see what we're
24    talking about then.

25                MR. GREEN:    And B, Your Honor -- sorry, my pages


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1     stuck together -- and B.
2                 THE COURT:    Let's see.    The A part of the objections

3     is that defendant did not maintain a residence for the purpose

4     of storing or distributing methamphetamine, and that's an
5     objection to the paragraph 42.        I'm trying to find the

6     paragraph you're objecting to.

7                 MR. GREEN:    42, Your Honor.
8                 THE COURT:    Okay.   And apparently you're not

9     objecting to the facts that the probation officer relied on to
10    reach that conclusion, and you're simply objecting to the

11    conclusion.

12                MR. GREEN:    Yes, Your Honor.      Mr. Nimerfroh fully
13    admits that he was selling drugs at that hotel room, and he

14    bought drugs at other hotel rooms other people were selling

15    at.   He's just saying that him and Ms. Frye actually lived
16    there when he left his wife, moved in with her, and then got

17    into all this trouble in this case.          They were actually living

18    at the Fairfield Inn in Fort Worth.
19                THE COURT:    Do you have any evidence you want to

20    offer in support of any of your objections --
21                MR. GREEN:    No, Your Honor, just the facts --

22                THE COURT:    -- either of the objections you're now

23    urging?
24                MR. GREEN:    No, Your Honor.      The facts that are just

25    in the PSR.


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1                 THE COURT:    Okay.   Well, the fact that he uses that
2     same place as his residence is not a reason for the probation

3     officer not to give the two-level increase.          Hold on just a

4     minute.
5                 I don't think -- from the information that the

6     probation officer has in the report, I don't think there's any

7     question but what the defendant was using those premises for
8     his drug-trafficking activities, and they were premises that

9     he had control over because he was renting them, so I'm going
10    to overrule that objection.

11                I think the probation officer correctly ascertained

12    that the facts recited in the Presentence Report supported the
13    two-level increase under 2D1.1(b)(12), and I find from a

14    preponderance of the evidence that that was a proper two-level

15    increase application.
16                Okay.   Your D part that you're objecting to --

17                MR. GREEN:    Paragraph 43, Your Honor.

18                THE COURT:    The leader/organizer?
19                MR. GREEN:    No, the next one is number B, Your

20    Honor.
21                THE COURT:    B?

22                MR. GREEN:    Yes, the importation enhancement.

23                THE COURT:    Oh, well, you told me a minute ago, I
24    thought that was waived.

25                MR. GREEN:    No, that was number C I waived.        Sorry,


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1     Judge, I didn't mean to confuse you.
2                 THE COURT:    Well, let me be sure I know what was

3     waived.   I now show that C is waived?

4                 MR. GREEN:    Yes, Judge.
5                 THE COURT:    Is D as in dog waived?

6                 MR. GREEN:    No, D is not.

7                 THE COURT:    So the ones that were waived -- only one
8     was waived and that's C?

9                 MR. GREEN:    Yes, Your Honor.
10                THE REPORTER:    Did you say C?

11                THE COURT:    He said C is waived.

12                MR. GREEN:    Yes.
13                THE COURT:    Is that what you're asking?

14                THE REPORTER:    Yes.

15                THE COURT:    Well, I'm satisfied there's evidence --
16    sufficient evidence to support a finding that those drugs

17    were -- that the drugs that he was dealing with were drugs

18    that came up from Mexico.
19                I think it's common knowledge that when reference is

20    made in this part of the world to a cartel, they are talking
21    about the drug cartels in Mexico.        Even the defendant referred

22    to his -- the drugs coming from a cartel, and used terminology

23    that they would be using in Mexico.
24                I'm going to overrule that objection.         I think the

25    probation officer's correct, and I find from a preponderance


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1     of the evidence that the drugs -- that he did deal in drugs
2     that were imported from Mexico.

3                 Okay.   Then that takes us to the D part on page 3?

4                 MR. GREEN:    Yes, Your Honor.
5                 THE COURT:    And that's the objection to the

6     organizer/leader two-level increase.

7                 Well, the Presentence Report has -- recites facts
8     that would indicate that Frye and Allen were assisting the

9     defendant in his drug-trafficking activities.           It would
10    appear to me that the probation officer -- and I find that

11    that is -- by a preponderance of the evidence, that that's so,

12    so it appears to me that the probation officer correctly
13    concluded that -- from the facts recited in the Presentence

14    Report, that he did qualify as -- for a two-level increase as

15    his role in the offense, so I'm going to overrule that
16    objection.

17                Okay.   There being no further objections to the

18    Presentence Report, the Court adopts as the fact findings of
19    the Court the facts set forth in the Presentence Report as

20    modified or supplemented by the addendum and any conclusions
21    I've expressed -- any findings I've expressed from the bench,

22    and the Court adopts as the conclusions of the Court the

23    conclusions expressed in the Presentence Report as modified or
24    supplemented by the addendum, or either of the addenda in each

25    case, and any conclusions I've expressed from the bench.


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 1                The Court concludes that the total offense level is
 2    39; that the guideline imprisonment range would be 360 months

 3    to life, if the defendant had been charged with his true

 4    offense conduct, but because of the charging decision, the
 5    U.S. Attorney has created a 480-month maximum sentence, the

 6    statutory maximum, so that makes the guideline range become

 7    360 to 480 months; and that the supervised release range is 4
 8    to 5 years; and that a fine range of $25,000 to $5 million is

 9    applicable; and a special assessment of $100 is -- would be
10    payable at the time of sentencing.

11                (Bench Conference with Courtroom Deputy)

12                THE COURT:    And the Criminal History Category is VI,
13    if I left that out.

14                Okay.   You can make whatever statement -- let's

15    see.
16                The government filed a Motion for Downward Departure

17    in this case?

18                MR. SMITH:    Yes, Your Honor.
19                THE COURT:    Okay.    Do you have any evidence you want

20    to offer on that?
21                MR. SMITH:    Yes, Your Honor.

22                THE COURT:    Okay.

23                MR. SMITH:    Government calls Agent McCurdy.
24                THE COURT:    Okay.    He has been sworn in this case

25    for sure now, so come on up and be seated.


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 1                                 MIKE MCCURDY,
 2    having been first duly sworn, testified as follows:

 3                              DIRECT EXAMINATION

 4    BY MR. SMITH:
 5    Q.         Will you please state your name.

 6    A.         Mike McCurdy.

 7    Q.         And your current occupation?
 8    A.         I'm a Special Agent with Homeland Security

 9    Investigations.
10    Q.         And are you familiar with the case against

11    Mr. Nimerfroh?

12    A.         Yes, sir, I am.
13    Q.         Will you please tell the Court how he's provided

14    substantial assistance in the prosecution of others.

15    A.         Mr. Nimerfroh provided information against two of his
16    codefendants in the current round of the investigation, namely

17    Holly Frantzen and Nikie Frye.        Additionally --

18    Q.         And both of those individuals have pled guilty; is
19    that right?

20    A.         Yes, sir, that is correct.        Additionally, going from
21    memory, Mr. Nimerfroh provided information against two future

22    potential targets of the investigation.

23    Q.         And you've written those down on Government's Exhibit
24    1; is that right?

25    A.         Yes, sir.


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 1                MR. SMITH:    The government would offer that and ask
 2    that it be sealed, Your Honor, Government's Exhibit 1.

 3                THE COURT:    Okay.    Where is it?

 4                MR. SMITH:    The witness has it.
 5                THE COURT:    Okay.    Hand it over here.

 6                Have you shown that to defense counsel?

 7                MR. SMITH:    Yes, Your Honor.
 8                THE COURT:    Okay.    Go ahead.    And I'm receiving

 9    Government's Exhibit 1, and I will treat it as a sealed
10    document.

11    Q     (BY MR. SMITH)     And those are the two individuals, the

12    two future targets that Mr. Nimerfroh has provided information
13    about; is that right?

14    A.         Again, I went off memory to come up with those names,

15    but to the best of my recollection, yes, sir.
16                THE COURT:    You're uncertain about that?

17                THE WITNESS:     I'm not 100 percent, Your Honor.        I

18    don't have the information with me to refresh my memory, so --
19                THE COURT:    Okay.    That's fine.

20    Q     (BY MR. SMITH)     Are you thinking there could be more, or
21    those are the two that you know for sure?

22    A.         I believe it's two, but in the -- one of the names on

23    there, I'm not certain if Mr. Nimerfroh provided information
24    about that individual or a different individual.

25                MR. SMITH:    Okay.    No further questions, Your Honor.


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 1                THE COURT:    Okay.    Do you have any questions you
 2    want to ask?

 3                MR. GREEN:    Thank you, Your Honor.

 4                               CROSS-EXAMINATION
 5    BY MR. GREEN:

 6    Q.         The Aryan Brotherhood of Texas, would you say that's

 7    a dangerous gang?
 8    A.         Yes, sir, I would.

 9    Q.         A violent gang?
10    A.         Yes, sir.

11    Q.         Are their leadership now in jail or prison as a

12    result of the government's investigation?
13    A.         Are their -- I'm sorry?

14    Q.         Are a lot of their leaders jailed because of this

15    investigation?
16    A.         Some of their leaders are jailed because of this

17    investigation, yes, sir.

18    Q.         And would you say that Mr. Nimerfroh's assistance was
19    substantial?

20    A.         As it relates to those individuals?
21    Q.         No, just to your investigation.

22    A.         It was helpful.

23    Q.         Okay.    And did -- other than Homeland Security,
24    didn't he also give information to the DEA?

25    A.         He gave the information to Homeland Security and DEA


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 1    jointly.
 2    Q.         Okay.    And did he also give also information to

 3    Arlington police and the Denton police on prior arrests?

 4    A.         He gave information to Homeland Security and the
 5    Arlington police jointly.       I'm not aware of any information he

 6    provided to the Denton police.

 7                MR. GREEN:    Okay.    Pass the witness.
 8                THE COURT:    Do you have anything else you want to

 9    ask him?
10                MR. SMITH:    No, Your Honor.

11                THE COURT:    Okay.    You can be seated.

12                THE WITNESS:     Yes, sir.
13                THE COURT:    I cannot find from the evidence that the

14    defendant has provided substantial assistance to the

15    government in the investigation and prosecution of others.                 I
16    think he's provided helpful information, but not substantial

17    assistance.

18                Okay.    You and your client can come to the -- so I'm
19    denying the government's motion.         Of course, I'll take into

20    account in the sentencing decision what I've heard.
21                Okay.    Mr. Green, you can make whatever statement or

22    presentation you would like to make on behalf of your client

23    at this time.
24                MR. GREEN:    Thank you, Your Honor.       And I have some

25    brief evidence towards that, if I could call a witness.


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 1                THE COURT:    Yes.
 2                MR. GREEN:    Melissa, can you come up?

 3                THE COURT:    You have somebody you want to speak from

 4    the podium?
 5                MR. GREEN:    Or the witness stand, whichever is

 6    easier for you Judge.

 7                THE COURT:    Well, if it's just somebody to make a
 8    statement, she can do it from the podium.           You don't have to

 9    call her to the witness stand.
10                Come on up here to the microphone behind the podium.

11                MR. GREEN:    Stay there.

12                THE COURT:    Why don't you say what your name is.
13                MS. MELISSA RIGGS:      Melissa Riggs.

14                THE COURT:    And what city do you live in?

15                MS. MELISSA RIGGS:      Arlington, Texas.
16                THE COURT:    Okay.    Go ahead and make whatever

17    statement you would like to make on behalf of the defendant.

18                MS. MELISSA RIGGS:      I got a phone call from my
19    brother a couple of days ago, and I'm worried for his life.

20    There's a death threat on him, and it's from the Aryan
21    Brotherhood, and I don't want anything to happen to him, and

22    that's not fair that he's going to be stuck in there with them

23    and he might not come home because they might kill him.
24                THE COURT:    Okay.    Anything else?

25                MS. MELISSA RIGGS:      No, sir.


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 1                THE COURT:    Okay.    Thank you for coming up here.
 2                Okay.   Was there someone else who wanted to make a

 3    statement?

 4                MR. GREEN:    Yes, Your Honor.      Heather.
 5                THE COURT:    Okay.    And what is your name?

 6                MS. HEATHER SCHWAB:      Heather Schwab.

 7                THE COURT:    Okay.    And where do you live?
 8                MS. HEATHER SCHWAB:      Carrollton, Texas.

 9                THE COURT:    Okay.    Go ahead and make whatever
10    statement you would like to make.

11                MS. HEATHER SCHWAB:      Your Honor, Tim is my

12    half-brother and he did not grow up with me.           He had a very
13    hard, hard life with his father, which I believe, in my

14    opinion, is a lot of -- just bad in his life.           He wasn't given

15    opportunities that I was given, which was very unfortunate.
16                I believe that he does accept responsibility for

17    what he's done.     I believe he accepts responsibility for the

18    hurt that he and my sister has caused our family.
19                And I'm not going to ask you to show mercy, but I am

20    going to ask you to keep in mind, he's 45 years old.             I want
21    to be able to someday -- I'm not no spring chicken myself, and

22    I would like to someday see him again.

23                And it's also very unfortunate that 7 years ago, to
24    the date, my mother got sick and died, and this is happening

25    on this day, but I just want you to know that I know that he


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 1    is very remorseful.      And my daughter's here, whom he's never
 2    met, and she's here to support him because we're just a

 3    connected family, and regardless of anything else, we're just

 4    a connected family.
 5                THE COURT:    Okay.    Thank you.

 6                Okay.   Mr. Green, why don't you and your client come

 7    back to the microphone, and you can make whatever statement
 8    you would like to make on behalf of your client at this time.

 9                MR. GREEN:    Thank you, Your Honor.
10                Mr. Nimerfroh, as he's about to tell you, has

11    received a direct death threat from Shawn Cropp, who is one of

12    the leaders.
13                THE COURT:    From who?

14                MR. GREEN:    Shawn Cropp, a codefendant in this case,

15    who is one of the leaders of the Aryan Brotherhood.            This has
16    been communicated to him inside the Johnson County Jail.             I

17    contacted Sheriff Alford's office, and they moved him into a

18    security.    Because of that, they take it as credible.
19                Whatever Mr. Nimerfroh told the law enforcement

20    obviously got some people riled and they are after him for it,
21    so he gave -- I believe we would ask you to reconsider based

22    on these facts.     And as you heard from his sister, you know,

23    she knows about it, and she's not even involved in the case,
24    so reconsider the substantial assistance to law enforcement

25    here.    And also that the Aryan Brotherhood is a known and


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 1    violent prison gang.
 2                Also Mr. Nimerfroh is about to tell you that the

 3    people in the Aryan Brotherhood have been writing different

 4    U.S. prison facilities to be on the lookout for him, and TDC
 5    facilities when he gets there.        So whoever he informed on, you

 6    know, he helped put somebody in jail, obviously, and they are

 7    out to get him.
 8                Also, as you know from, I believe, Inmate Shulty

 9    (sic), he was attacked in FCI Fort Worth and almost beat to
10    death for these same reasons, and Mr. Nimerfroh will tell you

11    one of the other inmates told him that they were going to

12    attack him two days ago.       That's why he had to be put in
13    protective custody, to stop him from coming to court today

14    because they think he's going to be here testifying against

15    somebody.
16                Mr. Nimerfroh was released from Texas Department of

17    Criminal Justice, you know, less than a year before this

18    offense.    He actually, as it's related in the PSR, he kept
19    clean, he worked two jobs, and he actually worked for a

20    company that I work for, which is kind of interesting because
21    they don't let drug addicts and slackers work there.

22                He's also an exceptional artist.

23                THE COURT:    What company is that that you work for?
24                THE DEFENDANT:     Upstage USA, Your Honor.

25                THE COURT:    Okay.


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 1                MR. GREEN:    It does like -- if somebody's putting on
 2    a production or show, they do all the transportation and

 3    setting up of that.

 4                THE COURT:    I thought you said it was a company you
 5    also worked for.

 6                MR. GREEN:    A related company, yes, Your Honor, I do

 7    legal work for a related company, so I know of this.             They
 8    drug test employee employees and everything.           You know, no

 9    dirty UAs.
10                He also had a job as a custom tattoo artist, and

11    Mr. Nimerfroh, as he told the probation officer, quit that job

12    when he started using methamphetamine again because he
13    couldn't do the quality work that he was used to doing.

14                The PSR clearly shows some mitigating factors

15    towards a sentence here for Mr. Nimerfroh.           He had a poor life
16    as a child, and as his sister told you, he didn't have very

17    many chances.     He was raised in a home strife with alcoholism

18    and neglect, abuse.
19                He started abusing alcohol and drugs as a teenager,

20    a young teenager, and he has not had a chance at clinical
21    rehabilitation.     His trips to the Colorado State Penitentiary

22    and to the Texas Penitentiary did not involve a trip to SAFP

23    as a condition of probation.        That's an opportunity he really
24    needs, and he's going to ask the judge to tell the BOP to send

25    him to the drug treatment facility.          If he doesn't get the


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 1    time credit, he wants that treatment and that will make a big
 2    difference in his life.

 3                He hasn't had that chance, and I would like you to

 4    take that into consideration in your sentence, that he hasn't
 5    had a chance to get professional drug treatment by the

 6    authorities, even though he's been in trouble so many times.

 7                Also, we would like you to please consider the short
 8    duration of his conduct in this conspiracy.           As the PSR

 9    reflects, he got out of prison and was doing right.            He got in
10    with, you know, the girl Nikie Frye there, and got hooked on

11    meth again.     He was only involved in months, not years, before

12    the police popped him with Stevie Soule with all those drugs
13    on her.

14                And after a period of working this case and he

15    stayed sober, you know, that's the things that have kept him
16    straight.    He does have a family out there.         He has a wife and

17    child.    He's kept them away from this offense.          So we would

18    like you to reconsider if he did provide substantial
19    assistance given the fact that the Aryan Brotherhood is

20    threatening his life and the sheriff's department thinks
21    that's serious enough to put him in seclusion and investigate

22    that.

23                And that also, consider in mitigation the
24    circumstances that Tim -- you know, I've had a lot of bad

25    criminal clients, and he's not a bad guy.           He's not the kind


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 1    of person that you would have to worry about, you know,
 2    killing you or something in your sleep, or even robbing your

 3    stuff.    He just has a very bad drug problem, and he can't get

 4    off it without help from the Court, and he's asking that, and
 5    he's asking for a lower sentence so he could take care of that

 6    family of his and keep straight.

 7                Also, Your Honor, that given his age, a sentence in
 8    the guidelines would be, in fact, a life sentence very likely,

 9    the effect of a life sentence.        He would be in there until
10    he's quite old, and that would probably be unfair given that

11    it's drug possession and drug dealing involving other drug

12    dealers.    There's no allegation here that he sold drugs to
13    children or got children hooked on drugs or used any violent

14    means.    Thank you, Your Honor.

15                THE COURT:    Okay.    Mr. Nimerfroh, you have the right
16    to make any statement or presentation you would like to make

17    on the subject of mitigation, that is, the things you think

18    the Court should take into account in determining what
19    sentence to impose, or on the subject of sentencing more

20    generally, and at this time I'll invite you to do that.
21                THE DEFENDANT:     Your Honor, I've been a drug addict

22    since I was 13 years old.       I grew up with it with my dad, and

23    alcoholism, and basically I just have not been able to kick
24    this addiction.     And so when I try to feed my addiction and

25    support my habit, I do not -- I do not deny the fact that I


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 1    sold drugs to support my habit, and I take full responsibility
 2    for what I've done and ask mercy of the Court.

 3                I'm sorry for the crimes I committed against the

 4    United States and against my family, you know, that hurt that
 5    I've given them.      I just ask that you please show mercy to me.

 6    You know, I don't want to die in prison.           Those guidelines are

 7    huge, man.    I mean, I don't know what else to say, Your Honor,
 8    but I just ask that you show mercy on me.

 9                THE COURT:    Okay.    Anything else?
10                THE DEFENDANT:     And the death threats are real.        The

11    lady that I informed on, Holly Frantzen, her husband is a

12    member of Aryan Brotherhood, and they are real upset with me
13    over this, and to come out here with nothing would just --

14    would be terrible, man.       There's a good chance that I'll

15    probably get killed in prison by informing on Holly Frantzen,
16    and I just ask you to consider that, Your Honor.

17                THE COURT:    Okay.    On the substantial assistance

18    issue, the Section 5K1.1 motion, as I've indicated, I have not
19    been persuaded that the defendant has provided substantial

20    assistance to the government in the investigation or
21    prosecution of another person who has committed an offense,

22    though he has been -- provided helpful information, and I've

23    had testimony to that effect, so I'm not giving him --
24    considering that a downward departure under 5K1.1 is

25    appropriate.


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 1                However, I am going to consider the factors the
 2    Court would consider in determining the degree of departure,

 3    if the Court had concluded that a departure was appropriate,

 4    in evaluating where within the -- where the sentence should
 5    be, and those factors are the evaluation of the significance

 6    and usefulness of his assistance, taking into consideration

 7    the government's evaluation of the assistance rendered.             Well,
 8    the government has evaluated it as being helpful, so I'll take

 9    that into consideration.
10                The next factor is the truthfulness, completeness,

11    and reliability of any information or testimony provided by

12    the defendant.     Well, I haven't received information that
13    would give me the ability to make a definitive finding on

14    those subjects, though I will assume that he has provided

15    truthful information for the sake of discussion.
16                And the nature and extent of defendant's assistance,

17    well, we've already talked about that.

18                Any injuries suffered or danger or risk of injury to
19    the defendant or his family resulting from his assistance.

20    Well, I assume from that, that all of the -- with respect to
21    that, that all of the defendants who have cooperated with the

22    government in this case have some risk of injury, and so I

23    assume that there is some risk of injury.
24                And I don't know that I can make an evaluation as to

25    the timeliness of the assistance he provided, so there's not


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 1    much I can do with that.
 2                I've concluded that -- and another factor that I

 3    need to take into account is the defendant's criminal history.

 4    It turns out that, perhaps more defendants than not in this
 5    series of cases we've had related to the methamphetamine,

 6    broad methamphetamine conspiracy, the defendants have had

 7    tremendously bad criminal history cate- -- criminal histories.
 8                In this case, it starts at age 19, when he was

 9    convicted of burglary in the second degree.           He was charged
10    with first degree burglary, conspiracy, assault in the third

11    degree, criminal mischief, and burglary in the second degree.

12    He was convicted of the fifth count, and I don't have enough
13    information to tell me whether there was evidence to support

14    the first ones.

15                He was given a probated sentence, but then he
16    violated that probation, and it was revoked and he got a

17    sentence of imprisonment of 4 years; and then he was released

18    on parole a year later, about a year-and-a-half later, and
19    then he violated his parole and it was revoked, and then he

20    finally served that sentence out.
21                And then at age 21, he was convicted of forgery by

22    passing, and he got a 3-year sentence on that, and then he was

23    paroled and he finally discharged that parole.
24                Then at age 26, he was convicted on an offense of

25    dangerous drugs, and he got a term of parole and then he


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 1    escaped from the community corrections facility.            And then
 2    after that, he was arrested and he was returned to custody

 3    with a new sentence of escape.

 4                Then he was released on parole, and that parole was
 5    revoked because he violated a condition of that parole, and he

 6    finally served that sentence out in 2007, and that was a

 7    sentence imposed in 1998 based on an offense he committed at
 8    age 26.

 9                Then at age 28, he was arrested in -- looks like in
10    Colorado, and he pleaded guilty to some offense, got a 1-year

11    sentence of imprisonment and 2 years parole.           He was released

12    on parole, violated the conditions of that parole and it was
13    revoked.    Apparently that was running parallel to the offense

14    that I mentioned immediately before that one.           He finally

15    discharged that sentence in 2007.
16                At age 31, he was convicted of possession of a

17    controlled substance.      He got a 1-year sentence.

18                Age 36, he was convicted of possession of a
19    controlled substance, morphine, and he pleaded guilty and got

20    an 18-month sentence on that.
21                At age 36, he was convicted of unlawful possession

22    of a firearm by a felon.       He got a 3-year sentence, he was

23    released on parole, and then he violated his parole and that
24    was revoked.     He was -- then finally discharged that sentence

25    in 2010.    And the description in paragraph 81 of the offense,


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 1    paragraph 81 of the Presentence Report, indicates that it was
 2    a serious offense.      Of course, all of these are serious

 3    offenses.

 4                And then at age 36, he pleaded guilty to credit card
 5    abuse and got an 18-month sentence.

 6                Again at age 36, he was convicted of theft of

 7    property.    He got an 18-month sentence.         Apparently that ran
 8    parallel with the one I mentioned immediately before that.

 9                And then at age 38, he was convicted of possession
10    with intent to deliver a controlled substance.            That was

11    methamphetamine.

12                In addition to those convictions, he has been
13    charged with criminal conduct on a number of occasions where

14    there wasn't a conviction, but I can tell from the description

15    of the offenses that in many of those cases he actually did
16    commit the offenses, and I find from a preponderance of the

17    evidence that he did, and that applies to the offense

18    described in paragraph 68 that occurred at age 31; the conduct
19    described in paragraph 69 that occurred at age 34; the conduct

20    described in paragraph 70 that occurred at age 34; the conduct
21    described in paragraph 71 that occurred at age 38; and the

22    conduct described in 72 that occurred at age 38.            In some of

23    those instances, it refers back to earlier paragraphs in the
24    Presentence Report, and, of course, that's what I'm relying

25    on.


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 1                If it were not for the factors that have been argued
 2    in support of a reduced sentence, I probably would be

 3    sentencing this defendant to 480 months, considering all of

 4    the factors the Court should consider in sentencing under 18
 5    United States Code Section 3553(a).

 6                I'm going to take into account the help he's

 7    provided the government and the factors that I mentioned in
 8    going over the 5K1.1 factors that the Court should consider in

 9    determining what a reduction should be, if the Court were to
10    conclude a reduction is appropriate.

11                Even though I haven't concluded that he qualifies

12    for a reduced sentence, I am going to take into account those
13    factors, as well as the other factors that his attorney has

14    mentioned, and I'm going to sentence at the very bottom of the

15    advisory guideline range of 360 months.
16                That sentence would run consecutively to any

17    sentence in his parole violation Case Number 1186065D.             That's

18    in the 297th District Court of Tarrant County, Texas.
19                In addition to that, there would be a term of

20    supervised release of 5 years that would follow after
21    completion of the sentence of imprisonment, and an obligation

22    to pay a special assessment of $100, and that's payable

23    immediately.
24                So the Court's ordering and adjudging that the

25    defendant be committed to the custody of the Bureau of Prisons


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 1    to serve a term of imprisonment of 360 months.
 2                Now, I failed to mention that that term of

 3    imprisonment is to run concurrently with any sentence imposed

 4    in the 297th District Court of Tarrant County, Texas in Case
 5    Number 14296631, but consecutively to that other matter I

 6    mentioned, the Case Number 1186065D.

 7                I'm also ordering that the defendant serve a term of
 8    supervised release of 3 years that would start once he's

 9    completed his sentence of imprisonment, and the conditions of
10    that --

11                (Bench Conference with Courtroom Deputy)

12                THE COURT:    I'm sorry, I misspoke.       The term of
13    supervised release is to be 5 years and not 3 years.             I

14    misspoke.

15                So I'm ordering that he serve a term of supervised
16    release of 5 years to start when he's completed his sentence

17    of imprisonment, and he, while on supervised release, will

18    comply with the standard conditions that will be set forth in
19    the judgment of conviction and sentence, and the following

20    additional conditions:
21                He shall not commit another federal, state, or local

22    crime.

23                He shall not possess illegal controlled substances.
24                He shall cooperate in the collection of DNA as

25    directed by the probation officer and as authorized by the


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 1    Justice for All Act of 2004.
 2                He shall refrain from any unlawful use of a

 3    controlled substance, and shall submit to one drug test within

 4    15 days of release from imprisonment and at least two periodic
 5    drug tests thereafter as directed by the probation officer.

 6                He shall participate in mental health treatment

 7    services as directed by the probation officer until
 8    successfully discharged, and those services may include

 9    prescribed medications by a licensed physician, and he'll
10    contribute to the cost of those services at the rate of at

11    least $25 a month.

12                He shall participate in a program approved by the
13    probation officer for treatment of narcotic or drug or alcohol

14    dependency that will include testing for the detection of

15    substance abuse, and he shall abstain -- substance use, not
16    abuse.    The testing will be for detection of substance use,

17    and he shall abstain from the use of alcohol and all other

18    intoxicants during and after completion of that treatment, and
19    he'll contribute to the cost of those services at the rate of

20    at least $25 a month.
21                I'm also ordering that the defendant pay a special

22    assessment of $100, and that's payable at the time of

23    sentencing.
24                Mr. Nimerfroh, you have the right to appeal from the

25    sentence I've imposed, if you're dissatisfied with it.             That


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 1    appeal would be to the United States Court of Appeals for the
 2    Fifth Circuit.

 3                You have the right to appeal in forma pauperis, that

 4    means without any cost to you, if you were to qualify for it.
 5    You have the right to have the clerk of court file a notice of

 6    appeal for you, and the clerk would do that forthwith, if you

 7    were to specifically request it.
 8                You and your attorney have been given a form that

 9    outlines certain rights and obligations in reference to an
10    appeal.    If you haven't already done so, I want the two of you

11    to review that and be sure you understand it, and once both of

12    you are satisfied you understand it, I want both of you to
13    sign it and return it to the court coordinator.

14                Has that been done, Mr. Green?

15                MR. GREEN:    The court coordinator already has that
16    document, Your Honor.

17                THE COURT:    Pardon?

18                MR. GREEN:    She already has that document, Your
19    Honor.

20                THE COURT:    Are you satisfied your client
21    understands it?

22                MR. GREEN:    Yes, Your Honor.

23                THE COURT:    And did both of you sign it?
24                MR. GREEN:    Yes, Your Honor, we both signed it.

25                THE COURT:    Okay.    The defendant's remanded to


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 1    custody, and you're excused, Mr. Green.
 2                You're excused, too, Mr. Smith.

 3                COURT SECURITY OFFICER:          All rise.

 4                (End of Proceedings)
 5                            REPORTER'S CERTIFICATE

 6          I, Debra G. Saenz, CSR, RMR, CRR, certify that the

 7    foregoing is a true and correct transcript from the record
 8    of proceedings in the foregoing entitled matter.

 9          I further certify that the transcript fees format
10    comply with those prescribed by the Court and the Judicial

11    Conference of the United States.

12          Signed this 28th day of February, 2017.
13

14                                   /s/ Debra G. Saenz

15                                   DEBRA G. SAENZ, CSR, RMR, CRR
                                     Texas CSR No. 3158
16                                   Official Court Reporter
                                     The Northern District of Texas
17                                   Fort Worth Division

18
19    CSR Expires:            12/31/17
      Business Address:       501 W. 10th Street, Room 424
20                            Fort Worth, Texas 76102
      Telephone:              817.850.6661
21    E-Mail Address:         debbie.saenz@yahoo.com

22

23
24

25


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